        CASE 0:20-cr-00136-WMW-HB Doc. 87 Filed 01/12/21 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


United States of America,                                Case No. 20-cr-0136 (WMW/HB)

                            Plaintiff,
                                                     PRELIMINARY ORDER OF
       v.                                                 FORFEITURE

Travon Lavelle Blackman (1),

                            Defendant.


      Before the Court is the unopposed motion of Plaintiff United States of America for

a preliminary order of forfeiture. (Dkt. 85.) The Court finds that the property at issue is

subject to forfeiture, 18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c), and that the United

States has established the requisite nexus between such property and the offense of which

Defendant Travon Lavelle Blackman has been found guilty.

      Based on the foregoing analysis and all the files, records and proceedings herein, IT

IS HEREBY ORDERED:

       1.     Plaintiff United States of America’s Motion for a Preliminary Order of

Forfeiture, (Dkt. 85), is GRANTED.

       2.     Defendant Travon Lavelle Blackman shall forfeit to the United States a

Glock, model 22, .40-caliber semiautomatic pistol, bearing serial number KTX941, a 50-

round drum magazine, and any ammunition and accessories seized therewith (the Property).
         CASE 0:20-cr-00136-WMW-HB Doc. 87 Filed 01/12/21 Page 2 of 2




       3.     The United States Attorney General or an authorized designee may seize and

maintain custody and control of the Property pending the entry of a Final Order of

Forfeiture.

       4.     Pursuant to 21 U.S.C. § 853(n)(1), as incorporated by 28 U.S.C. § 2461(c),

the United States shall publish and give notice of this Order and the intent of the United

States to dispose of the Property in such manner as the Attorney General may direct.

       5.     This Order shall become final as to Defendant at the time of sentencing, made

part of the sentence and included in the judgment. Fed. R. Crim. P. 32.2(b)(4)(A), (B).

       6.     Following the Court’s disposition of any petitions filed pursuant to 21 U.S.C.

§ 853(n)(2) or, if no petitions are filed, following the expiration of the time period

established to file such petitions, the United States shall have clear title to the Property and

may warrant good title to any subsequent purchaser or transferee.

       7.     This Court shall retain jurisdiction to enforce this Order and to amend it as

necessary. Fed. R. Crim. P. 32.2(e).


Dated: January 12, 2021                                    s/Wilhelmina M. Wright
                                                           Wilhelmina M. Wright
                                                           United States District Judge




                                               2
